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17
                       UNITED STATES DISTRICT COURT
18                   CENTRAL DISTRICT OF CALIFORNIA
19    MICHAEL PRESTON and                     Case No. 2:18-cv-00038-R-JC
      PENELOPE TURGEON, individually
20
      and on behalf of all others similarly   FIRST AMENDED COMPLAINT
21    situated,                               (CLASS ACTION)
                          Plaintiffs,         Hon. Judge Manuel L. Real
22
23          v.                                Complaint Filed in N.D. Ill:
24                                            May 11, 2017
      AMERICAN HONDA MOTOR
25    COMPANY, INC.,                          Complaint Transferred from N. D. Ill.:
26                  Defendant.                December 29, 2017

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 1         PREFATORY ALLEGATIONS AND PROCEDURAL HISTORY

 2         1.    Plaintiffs Michael Preston and Penelope Turgeon, both residents of the

 3 State of Illinois, bring this matter on behalf of a proposed class of similarly situated
 4 Illinois consumers against Defendant American Honda Motor Company, Inc.
 5 (“Honda”).
 6      2.    This matter was originally filed in the Northern District of Illinois (N.D.

 7 Ill. Case No. 17-cv-03549) as all Plaintiffs and proposed class members reside in or
 8 purchased vehicles in the State of Illinois. On June 16, 2017, as its initial response
 9 to the N.D. Ill. Complaint, Honda moved to dismiss or to transfer the proceeding to
10 the Central District of California (C.D. Cal.), citing two cases involving Honda’s soy
11 vehicle components already pending in this Honorable Court. Plaintiff objected to
12 the transfer given the voluntary dismissal of both cases previously filed here and the
13 extreme inconvenience associated with litigating an Illinois-only case in California.
14 On or about December 29, 2017, over Plaintiff’s objection and his motion to
15 reconsider the transfer, the matter was transferred here and on January 4, 2018, the
16 C.D. Cal. Clerk’s Office received the original file and assigned the case. See Doc.
17 36.
18         3.    Plaintiffs seek relief for themselves and the proposed class under the
19 Illinois Consumer Fraud Act, 815 ILCS 505/1 et seq. (“ICFA”), which prohibits
20 affirmative misrepresentations, omissions of material fact, and other generally unfair
21 or deceptive business practices.
22         4.    As alleged herein, Honda’s failure to advise vehicle purchasers prior to
23 purchase that Honda’s new vehicle warranty will not cover any vehicle malfunction
24 caused by a rodent chewing incident -- when Honda knew that a change in materials
25 being used has caused rodents to repeatedly chew through wires -- is an omission of
26 material fact.
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 1         5.    In fact, while Honda refuses to cover rodent-related repairs under its

 2 manufacturer’s warranty, its authorized repair centers market and sell Honda rodent-
 3 deterrent tape (“Honda 4019-2317 Rodent Tape”) and charge Honda vehicle
 4 purchasers to apply the tape to the wiring and or wire harnesses as part of the repair.
 5       6.     Wiring insulation and/or wire and wire harness protective coating,

 6 tubing or housing, is imperative to the integrity of a vehicle’s electrical system.
 7 While soy and/or bio-based material is allegedly more environmentally friendly, and
 8 has been used with increasing frequency, when the vehicles are placed in the stream
 9 of commerce and then purchased by consumers, the use of soy and/or bio-based
10 material has led to an increase in the number of consumer complaints involving
11 rodent attacks. Ultimately, the wires are chewed through and, in the case of both
12 Plaintiffs, their vehicles lost power steering as a direct result.
13        7.     When Honda vehicles are brought in for repair after rodent incidents,

14 Honda authorized service centers often apply Honda 4019-2317 Rodent Tape.
15      8.    Honda claims this tape is the solution, made with a blend of spicy

16 flavorings that purport to deter rodents, thereby admitting that vehicle wires and
17 tubing need to be covered with after-market tape to prevent further costly out-of-
18 warranty repairs, and further admitting that the current design has attracted rodents
19 in the first place.
20         9.    However, despite acknowledging the rodent problem, selling an after-
21 market product designed to deter rodents at additional profit, and telling consumers
22 they should apply what amounts to fancy, flavored duct tape to vehicle wiring,
23 Honda disclaims all liability for vehicle repairs and replacement parts needed after
24 rodent incidents.
25         10.   Honda forces consumers to go out-of-pocket, make insurance claims or
26 pay for rental vehicles while their Honda vehicles are in the shop.
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 1         11.   Honda knows about the problem, asks consumers to pay for the

 2 problem, and continues to distribute vehicles without addressing the problem or
 3 alerting consumers to their vehicles’ vulnerability, all of which amounts to unfair
 4 and deceptive conduct, prohibited by Section 2 of the ICFA.
 5                PARTIES AND ILLINOIS CLASS DEFINITION

 6         12.   Plaintiff Michael Preston is an Illinois consumer, residing in Lake

 7 County, Illinois.
 8      13. Plaintiff Penelope Turgeon is an Illinois consumer, residing in Cook

 9 County, Illinois.
10      14. The Plaintiffs’ proposed class is defined as all persons in the State of

11 Illinois who, (a) between May 2014 and May 2017, (b) purchased or leased a new
12 Honda branded vehicle at a Honda authorized dealership in Illinois and not for
13 purposes of resale, (c) which Honda vehicle experienced a power steering
14 malfunction attributed to rodent damage during the applicable new vehicle warranty
15 period, and (d) Honda denied warranty coverage for the vehicle’s service, repairs,
16 and/or replacement parts.
17         15.   Defendant American Honda Motor Company, Inc. is a foreign
18 corporation engaged in the manufacture, sale, supply and distribution of motor
19 vehicles and related equipment and services. Defendant supplies its products and
20 services to the public through a system of authorized dealerships and service centers.
21                      GENERAL FACTUAL ALLEGATIONS
22                                    Michael Preston
23         16.   On or about June 23, 2015, Plaintiff Michael Preston leased a 2015
24 Honda Accord at Muller Honda in Highland Park, Illinois.
25         17.   Preston’s 2015 Honda Accord was manufactured and supplied by
26 Honda with VIN 1HGCR2F80FA203311, for an agreed upon value of $25,381.28,
27 inclusive of all collateral charges.
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 1         18.   In November of 2016, well within the 3-year/36,000 mile Honda new

 2 vehicle warranty period, Preston’s Accord lost power steering.
 3       19. Preston’s Accord was brought back to Muller Honda for service.

 4         20.   On or about November 8, 2016, Muller Honda provided Preston with a

 5 repair invoice totaling $2146.16. Muller Honda advised Preston that his Accord’s
 6 wiring had been chewed through by a rodent and therefore, the electronic power
 7 steering and power steering rack had to be replaced:
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           21.   Because Honda did not cover the repairs under warranty, Preston was
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     advised by Honda representatives to made an insurance claim, which Preston did,
14
     forcing him to incur a $500.00 deductible.
15
                                    Penelope Turgeon
16
17         22.   On or about May 10, 2017, Plaintiff Penelope Turgeon leased a 2017

18 Honda Civic Hatchback at Fletcher Jones Honda in Berwyn, Illinois.
19      23. Turgeon’s 2017 Honda Civic Hatchback was manufactured and

20 supplied by Honda with VIN SHHFK7H23HU221574, for an agreed upon price of
21 $19,127.
22         24.   In July of 2017, well within the 3-year/36,000 mile Honda new vehicle

23 warranty period and only two months after bringing her new vehicle home,
24 Turgeon’s Civic lost power steering.
25         25.   Turgeon’s Civic was brought to back to Fletcher Jones Honda for

26 service.
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 1         26.   On or about July 14, 2017, Fletcher Jones Honda informed Turgeon

 2 there was major damage to the Civic’s electronic power steering harness, caused by
 3 bare wires that had been chewed through by a rodent, as depicted below:
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19         27.   Fletcher Jones Honda informed Turgeon the repairs were not covered
20 under warranty and presented her with an invoice totaling $313.28. Fletcher Jones
21 covered the replaced wiring with rodent tape and replaced the power steering sub
22 harness:
23 16 REPLACED EPS SUB HARNESS
     2017 CP 232.50 232.50
24 1 53682-TBA-A01 HARNESS 30.07 30.07 30.07
     1 53680-TBA-A00 HARNESS, EPS 17.62 17.62 17.62
25 PARTS: 47.69 LABOR: 232.50 OTHER: 0.00 TOTAL LINE A: 280.19
26         28.   Turgeon paid for the repairs and took her vehicle home.
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1          29.   Less than 2 weeks later, on or about July 24, 2017, Turgeon experienced

2 another total loss of power steering.
3       30. The vehicle was towed back to Fletcher Jones and the service center

4 discovered the wires were re-exposed, and the EPS sub harness needed to be
5 replaced for a second time, as depicted below:
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21         31.   The repair invoice stated:
22   7371AV REPLACED ELECTRIC POWER SUB HARNESS
     363    CP                                            232.50    232.50
23   1 53682-TBA-A01 HARNESS                          30.07      30.07
     30.07
24   1 4019-2317 TAPE,RODENT 19MM 20M                 46.31      46.31
     46.31
25   PARTS:     76.38 LABOR:     232.50 OTHER:       0.00    TOTAL LINE A:
     308.88
26   1278 FOUND POWER STEERING GEAR BOX WIRE HARNESS DAMAGED BY RODENTS.

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     1.50 WRAP NEW WIRE HARNESS WITH RODENTS RESISTANCE TAPE AND INSTALLED
1
     ON THE GEAR BOX
2
           32.    Turgeon had to pay another $163.87 (after insurance covered the
3
     remaining portion), including $46.31 for Fletcher Jones to apply more Honda 4019-
4
     2317 Rodent Tape.
5
                                  CLASS ALLEGATIONS
6
           33.    Plaintiffs bring this action individually and on behalf of an Illinois class
7
     of similarly situated individuals pursuant to Rule 23 of the Federal Rules of Civil
8
     Procedure.
9
           34.    As alleged above, the class is defined as all persons in the State of
10
     Illinois who, (a) between May 2014 and May 2017, (b) purchased or leased a new
11
     Honda branded vehicle at a Honda authorized dealership in Illinois and not for
12
     purposes of resale, (c) which Honda vehicle experienced a power steering
13
     malfunction attributed to rodent damage during the applicable new vehicle warranty
14
     period, and (d) Honda denied warranty coverage for the vehicle’s service, repairs,
15
     and/or replacement parts.
16
           35.    The proposed class is sufficiently numerous such that joinder of all
17
     members is impractical. Based upon Defendant’s own published vehicle sale
18
     records, tens of thousands of consumers purchased or leased said vehicles in the
19
     State of Illinois during the three-year class period and multiple online forums and
20
     widespread media coverage detail Honda vehicle owner complaints relating to wire
21
     damage caused by rodent attacks. Honda’s own warranty documentation will
22
     identify many of the proposed class members, as demonstrated by Preston’s and
23
     Turgeon’s service record codes.
24
           36.    There are questions of law and fact common to the class that
25
     predominate over any questions affecting only individual class members, especially
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     given Honda’s universal denial of any warranty coverage to rodent damage
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 1 complaints. The principal common issues all relate to Honda’s knowledge that the
 2 switch to soy or bio-based vehicle components had caused an influx in rodent-related
 3 wiring damage, as demonstrated by its marketing, sale and distribution of Honda
 4 4019-2317 Rodent Tape and include, (a) whether Honda omitted and failed to
 5 disclose material facts about the class vehicles and their warranty coverage, (b)
 6 whether the susceptibility to rodent attacks and resulting wire damage (causing loss
 7 of power steering) is a material fact reasonable consumers would have considered in
 8 deciding whether to purchase or lease a Honda vehicle, (c) whether Honda’s
 9 representations and omissions about the defective nature of critical wire coatings,
10 coverings, and/or tubing is violative of Section 2 of the ICFA, and (d) whether
11 Honda committed unfair acts by refusing to repair/replace chewed through wiring at
12 its own cost and/or installing vulnerable wiring components in the first place.
13         37.   Plaintiffs’ claims are typical of the claims for all class members, as they

14 arise from the same operative facts and are predicated on the same legal theories.
15        38. There are no individual questions of fact, other than whether a class

16 member purchased or leased a Honda vehicle and lost power steering due to a rodent
17 attack, which can be determined by a ministerial inspection of Defendant’s records,
18 warranty claims, and/or Honda-authorized service center records.
19       39. Plaintiffs will fairly and adequately protect the interests of the class
20 members, are committed to vigorously prosecuting this matter, and have retained
21 counsel experienced in handling class actions and ICFA claims. Neither Plaintiffs
22 nor their counsel have any interests that might cause them to not vigorously pursue
23 this claim.
24         40.   This action should be maintained as a class action as the prosecution of
25 separate actions by individual class members would create a substantial risk of
26 inconsistent or varying adjudications with respect to individual class members.
27 Furthermore, the prosecution of separate actions could result in adjudications of
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 1 individual members’ claims that could be dispositive of the interests of other
 2 members not parties to the adjudications or could substantially impair and/or impede
 3 the ability of such individuals to protect their interests.
 4        41. A class action is a superior method for the fair and efficient adjudication

 5 of this controversy. There is interest in the class members to determine a uniform
 6 diminished value or reimbursed cost calculation and forcing class members to
 7 litigate their claims individually against Honda is economically impracticable.
 8                                        COUNT I
               VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
 9                  AND DECEPTIVE BUSINESS PRACTICES ACT
10
           42. Plaintiffs reincorporate all preceding paragraphs as if set forth fully in
11
   this Count.
12
           43. Section 2 of the ICFA provides:
13
                  Unfair methods of competition and unfair or deceptive acts or practices,
14                including but not limited to the use or employment of any deception
15                fraud, false pretense, false promise, misrepresentation or the
                  concealment, suppression or omission of any material fact, with intent
16                that others rely upon the concealment, suppression or omission of such
17                material fact, or the use or employment of any practice described in
                  Section 2 of the “Uniform Deceptive Trade Practices Act” [815 ILCS
18                510/2], approved August 5, 1965, in the conduct of any trade or
19                commerce are hereby declared unlawful whether any person has in fact
                  been misled, deceived or damaged thereby. In construing this section
20                consideration shall be given to the interpretations of the Federal Trade
21                Commission and the federal courts relating to Section 5 (a) of the
                  Federal Trade Commission Act [15 U.S.C. § 45].
22
23         44.   Plaintiffs and all proposed class members are protected by the ICFA in
24 that they are “consumers,” defined as, “any person who purchases or contracts for
25 the purchase of merchandise not for resale in the ordinary course of his trade or
26 business but for his use or that of a member of his household.” 815 ILCS 505/1e.
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 1         45.   Honda’s distribution of the vehicles at issue occurred within the course

 2 of Illinois trade or commerce as, “[t]he terms “trade” and “commerce” mean the
 3 advertising, offering for sale, sale, or distribution of any services and any property,
 4 tangible or intangible, real, personal or mixed, and any other article, commodity, or
 5 thing of value wherever situated, and shall include any trade or commerce directly
 6 or indirectly affecting the people of this State.” 815 ILCS 505/1f.
 7        46. In connection with its distribution of the vehicles at issue, Honda issued

 8 written warranties, including a 3-year or 36,000 miles (whichever comes first) new
 9 vehicle warranty.
10         47.   Honda intended that Plaintiffs and the proposed class members view

11 their new Honda vehicles as “warranted” as an assurance of quality, designed to
12 induce a vehicle lease or purchase. Honda also generally intended for its purchasers
13 to rely on its assurances of safety, reliability, and warranty coverage.
14        48. Prior to purchase, Honda approved “window decals” for dealer

15 placement on Honda vehicles. These decals advertised the 3-year/36K warranty
16 term (without specifics as to the warranty’s limitations) and listed Honda’s electric
17 power steering feature.
18      49. Honda omitted full disclosure of warranty terms until after purchase. A
19 full warranty booklet is only provided after a lease or purchase transaction is already
20 consummated.
21         50.   Honda omitted telling consumers prior to purchase its warranty is
22 limited to repair or replacement of “parts defective in material and workmanship”
23 and that they would be responsible for their power steering repairs:
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 9         51.   Honda omitted telling consumers that its use of soy or bio-based
10 products render Honda vehicles particularly susceptible to vehicular damage caused
11 by rodent attacks (whether the chewed wire itself is soy or bio-based is irrelevant
12 because any soy or bio-based component nearby creates the rodent-attractive
13 environment) and that Honda does not consider this a covered event under warranty
14 or a product defect.
15        52. Honda omitted telling consumers they would be responsible for all of
16 their own costs associated with fixing vehicular damage caused by rodent attacks,
17 even though Honda knew its vehicles’ wires and certain gear boxes should be “extra-
18 coated” with rodent-deterrent tape.
19         53.   Within the three years prior to the filing of this action, Honda already
20 knew that its use of soy or bio-based material within vehicles rendered vehicle wiring
21 particularly susceptible to being chewed by rodents because it had begun marketing
22 and distributing Honda 4019-2317 Rodent Tape as a “Genuine Honda Part.”
23
         54. When Honda presented its warranty to Plaintiffs and the proposed class
24
   members through its duly authorized dealerships, Honda was aware that the material
25
   used to cover wiring and/or wire harnesses was susceptible to rodent attacks.
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 1         55.   In fact, rodent complaints were not isolated incidents but widespread

 2 and repeated, enough so that Honda’s service technicians were well-versed and able
 3 to immediately diagnose the problem.
 4         56.   Prior to the sale of the offending vehicles to Plaintiff and the proposed

 5 class members, Honda was aware the vehicles were becoming inoperative due to the
 6 chewing of wired components.
 7         57.   Despite Honda’s knowledge as aforesaid, Honda continued to produce

 8 its vehicles in a defective state and moreover, continued to refuse to repair or replace
 9 the defective materials. Rather, Honda’s repair facilities were instructed to advise
10 consumers that the problem was not the result of a defect or a problem with the
11 vehicle’s materials and that consumers would have to pay for their own repairs.
12         58.   Even though Honda acknowledged that its vehicle wires and power

13 steering components and/or lines needed to be taped over to dissuade rodents it still,
14 (a) charged and continues to charge consumers for the tape, and/or (b) trains service
15 personnel to replace chewed through parts with parts containing the same
16 vulnerabilities.
17         59.   Despite this obvious defect, and Defendant’s representation that
18 defective parts and workmanship would be warranted, Honda knew it did not and
19 would not warrant the problem.
20         60.   Honda vehicles’ component vulnerabilities are a material factor in
21 making a purchase or lease decision and the existence of a material defect in a
22 vehicle (which would not be covered under warranty) impacts a consumer’s
23 purchase decision.
24         61.   No reasonable consumer would expect a brand-new vehicle to stop
25 functioning because it contains feed for rodents and no reasonable consumer should
26 be expected to bind their vehicle’s wires with pepper-flavored tape at his/her own
27 expense.
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 1         62.    Honda made a company-wide decision to refuse to cover necessary

 2 repairs caused by rodent attacks under warranty and acted uniformly with regard to
 3 all vehicle owners/lessors.
 4         63.    Honda’s omissions of material fact are “unfair” under the ICFA

 5 because Honda’s practice, (a) offends public policy (given that automobile
 6 manufacturers are governed by vehicle reliability and safety standards), (b) is
 7 immoral, unethical, oppressive, or unscrupulous (since these omissions occur
 8 despite years of complaints and vehicle damages), and (c) causes substantial injury
 9 to consumers (as Plaintiffs and the proposed class members experienced mechanical
10 and electrical failures that diminished the use and value of their vehicles and required
11 expenditure of out-of-pocket costs).
12      64. Honda’s failure to cover the expense of repair for this known defect has

13 a widespread effect on consumers and implicates general consumer protection
14 concerns. Leasing or purchasing a safe, reliable vehicle that will not break down
15 and will be able to be used for its intended purpose also implicates consumer
16 protection concerns.
17         65.    Honda’s unfair conduct – failing to notify consumers that there exists a
18 condition with the vehicle that is not warranted and will require their own out-of-
19 pocket expense to repair, or failure to warrant its defective wire coating/insulation –
20 can and has caused consumers to incur thousands of dollars in repair costs, insurance
21 deductibles or worse, increased premiums, and potentially diminished trade-in or
22 resale value (especially for those with taped wires).
23         66.    But for Honda’s unfair acts, Plaintiffs and the proposed class members
24 could have decided to protect their vehicles before a rodent incident, perform
25 research as to rodent-related complaints and select another vehicle, or take additional
26 precautions.
27
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                                                                                        14
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 1         WHEREFORE, pursuant to 815 ILCS 505/10, Plaintiffs respectfully request

 2 that judgment be entered against Defendant American Honda Motor Company, Inc.,
 3 and in favor of Plaintiffs and the proposed class as follows:
 4         (A)   Injunctive or declaratory relief as appropriate;

 5         (B)   Actual damages, punitive damages, and reasonable attorney’s fees and

 6               costs; and

 7         (C)   All other relief deemed just and appropriate by this Court.

 8                             JURY TRIAL DEMANDED

 9                                                Respectfully submitted,
10
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